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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

JOHN DOE 10                                   )
                                              )      Cause Number: 3:21-cv-00083-SPM
                Plaintiff,                    )
                                              )
vs.                                           )
                                              )      JURY TRIAL DEMANDED
BOARD OF EDUCATION OF TRIAD                   )
COMMUNITY UNIT SCHOOL                         )
DISTRICT NO. 2, ERIN GARWOOD,                 )
and RODNEY WINSLOW                            )
                                              )
                Defendants.                   )

               NICOLE ELIZABETH GOROVSKY MOTION TO WITHDRAW



        COMES NOW, Nicole E. Gorovsky and hereby withdraws her appearance on behalf of

the Plaintiff, John Doe 10. Counsel Gorovsky has attained new employment and will be closing

Gorovsky Law permanently on August 1, 2022. Sarah Jane Hunt, Amber Kempf and Nicole

Matlock of the Kennedy Hunt Law Firm remain in this matter as counsel for Plaintiff and will

continue to represent the Plaintiff ably. Plaintiff has been informed of this change.

        WHEREFORE, attorney Nicole E. Gorovsky seeks leave to withdraw her appearance in

this matter.

                                              /s/Nicole E. Gorovsky
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                                             ATTORNEYS FOR PLAINTIFF



                                CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing was served on the below counsel of
record format via electronic mail on July 11, 2022 to:

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